           Case 4:01-cr-40045-JPG                     Document 106 Filed 11/13/08                                      Page 1 of 3            Page ID
~AO 245D                                                        #122
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STAlES DISTRICT COURT                                                                                 I:'I/..
                                                           Southern District of Illinois
                                                                                                                    .0CI.t, 'relV I 3
                                                                                                                                     AM                        I!()
          UNITED STATES OF AMERICA                                                         Judgment in a Criminal Case '1.11"",,:1(,    tI ~
                                                                                                                                          1.1.,
                             v.                                                            (For Revocation of Probation or supervise~~~I9"~ '''loO'
           MARCUS MITCHELL NELSON                                                                                                    "Oly        0'ltlol°,.
                                                                                                                                                   O/:'ll"lgl:' II.Zl.J~,.
                                                                                           Case No. 4:01CR40045-001-JPG                                    ~       ~O/oS'
                                                                                           USM No. 05326-025
                                                                                             Melissa A. Day, AFPD
                                                                                                                   Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           _a_s_a_lI_e;::;,ge_d_in......:...pe_t_it_io_n      of the tenn of supervision.
o was found in violation of condition(s)               _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                               Violation Ended
Special                           The defendant admitted to the use of cocaine                                                 07/31/2008



Standard                          The defendant failed to notify probation as to change in                                     09/15/2008



       The defendant is sentenced as provided in pages 2 through                                    3   of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2643                                         11/07/2008
                                                                                                               Date ofImposition of Judgment



                                                                                                        &=~
Defendant's Year of Birth:           1982

City and State of Defendant's Residence:
Cairo,IL
                                                                                             J. Phil Gilbert                             District Judge
                                                                                                                  Name and Title of Judge

                                                                                                        :Jby~/.:5. ~ ~
                                                                                                                           Date   >
           Case 4:01-cr-40045-JPG                      Document 106 Filed 11/13/08    Page 2 of 3       Page ID
AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations #123
           Sheet IA
                                                                                     Judgment-Page   _.:=.2_ of    3
DEFENDANT: MARCUS MITCHELL NELSON
CASE NUMBER: 4:01CR40045-001-JPG

                                            ADDITIONAL VIOLATIONS

                                                                                                            Violation
Violation Number          Nature of Violation                                                               Concluded
Standard                  The defendant violated conditions of his electronic monitoring                   09/29/2008



                          alcohol.
               Case 4:01-cr-40045-JPG                     Document 106 Filed 11/13/08            Page 3 of 3         Page ID
 AO 245D                                                            #124
               (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                               Judgment - Page _~3_ of           3
 DEFENDANT: MARCUS MITCHELL NELSON
 CASE NUMBER: 4:01 CR40045-001-JPG

                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
24 months




       "   The court makes the following recommendations to the Bureau of Prisons:

The Court recommends Drug Treatment Counseling




       "   The defendant is remanded to the custody of the United States Marshal.

       o The defendant shall surrender to the United States Marshal for this district:
         o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
         o as notified by the United States Marshal.
       o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o    before 2 p.m. on
           o    as notified by the United States Marshal.
           o    as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                   to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL

                                                                             By                                                      _
                                                                                         DEPUTY UNITED STATES MARSHAL
